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EXHIBIT
Case: 1:15-cv-10135 Document #: 1-11 Filed: 11/06/15 Page 2 of 7 PagelD #:127

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EQUIFAX

CREDIT FILE: August 5, 2015
Confirmation # 5198045368

Please note, when you provide documents, including a letter, to Equifax as part of your dispute, the documents may
be submitted to one or more companies whose information are the subject of your dispute.

Visit us at wavw.equifax.com/CreditReportAssistance or Call us at 866-349-5186.

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Dear David J Freedom: S| _ oe 8 & @
we etintat , “i Pong > m
Below are the results of your reinvestigation request and, as applicable, any revisions to your credit file. Ifyou have Baga ea ® —
additional questions regarding the reinvestigated items, please contact the source of that information directly. You =pe.a8 @ R
may also contact Equifax regarding the specific information contained within this letter or report within the next 60 oa’ os a
days by visiting us at www.investigate.equifax.com or by calling a Customer Representative at (888) 425-7961 from 2 342 Ge
9:00am to 5:00pm Monday-Friday in your time zone. a =
1 Qa
For an added convenience, use one of the below options to start an investigation or check the status of your dispute. & =
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Thank you for giving Equifax the opportunity to serve you.

 

 

 

 

>>> We have reviewed your concerns and our conclusions are:

The disputed accounts McSi ine /7027, /7001, /7026 and village of hazel crest are currently not reporiing on the
Equifax credit file. The additional disputed accounts are not currently reporting on the credit file.

 

 

 

>>> We have reviewed the bankrupicy information. Case or ID # - 14-12741 The results are: This banknuptcy is cu rrently reporting as discharged. We have
venfied that this item has been reported correctly. If you have additional questions about this item please contact: IL FED Bk CT-Benton, 301 W Main St, Benton

AL 62812-1362 Phone: (618) 435-2206

Wage Earner Plan Filed 07/2014; US Bankruptcy Court-Benton; Case or ID #- 14-12741; Type - Personal; Current Disposition - Discharged CH-13; Current Disposition Date 11/12/2014;
Date Verified 11/29/2014; Date Reported 11/29/2014; Address: 301 WMAIN ST BENTON, IL 62812-1362 : (618) 435-2206

 

  
 
   

 

 

 

| i. 1 30-59 Days Past Due 5 150-1 79 Days Past Due _ ~ J: Voluntary Surrender
Account ay 2: 60-89 Days Past Due 6 : 180 or More Days Past Due K : Repossession
ais Code 3:90-119 Days Past Due G: Collection Account . L : Charge Off
Descriptions | 4: 120-149 Days Past Due H : Foreclosure

 

 

 

 

>>> We have researched the credit account. Account # - 17391* The results are: This account is currently reporting included in bankruptcy. lf you have
additional questions about this item please contact: American Honda Finance, 2170 Point Bivd Ste 100, Elgin IL 60123-7875 Phone: (800) 542-0029

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Account Number Date Opened High Credit Credit Limit Terms Duration Terms Frequency Months Revd = Activity Designator Creditor Classification

 

17391* 10/07/2013 $20,989 $0 Monthly 6 Paid and Closed

ltems As. of Balance Amount Date of Actual Scheduled Date of ist Date of Date Maj. Charge Otf Deferred Pay Balloon Pay Balloon Date

Date Reported Amount _ Past Due LastPaymnt Paymnt Amotint Payment Amount Definquency LastActiity Del istAptd Amount Start Date = Amount Pay Date Closed
02/06/2015 $0 $0 01/2015 $2,534 _ $316 04/2014 $0 $0 : 04/2014

 

Status - Included In Wage Earner Plan; Type of Loan - Auto; Whose Account - Individual Account; ADDITIONAL INFORMATION - Bankruptcy Chapter 13; Closed or Paid Account/Zero
Balance; Auto; ,

 

>>> We have researched the credit account. Account # - 41451170* The resulfs are: This account is currently reporting included in bankruptcy. If you have

-additional questions about this item please contact. Chase MTG, PO Box 24696, Columbus OH 43224-0696 Phone: (800) 848-9136

 

 

So imit’ : r i Terms Frequency Months Revd = Activity Designata Creditor Classification
41451170" 06/01/2008 $42,963 $42,500 Monthly 94 .
Items As otf Bajanee Amount Date of Actual Scheduled Dale of {st Date of Date Maj. Charge Off Deferred Pay Balloon Pay Balloon Date
Date Reporied Amount Past Tue Last Paymnt  Paymnt Amount Paymat Amount Delinquency LastActivity Del, ist Aptd Amount Start Date = Amount Pay Date Closed
04/01/2015 $0 $0 03/2014 $0 $143 04/2014 $0 $0

 

Status - Included In Wage Earner Plan: Type of Loan - Home Equity Line Of Credit; Whose Account - Individual Account; ADDITIONAL INFORMATION - Bankruptcy Chapter 13; Home
Equity Loan;

 

>>> We have researched the credit account. Account # - 11165* The results are: This creditor has verified to OUR company that the current status is being
reported correctly. Additional information has been provided from the original source regarding this item. if you have additional questions about this item please
contact: American Honda Finance, 2170 Point Bivd Ste 100, Elgin IL 60123-7875 Phone: (800) 542-0029

     
  

     
  

    

ms Chiration ms Frequ "Months Revd Activity Designator Creditor Classification

pened yo
07/01/2008 $12,824 $0 Monthly 56 Paid and Closed

  

 

 

Items As of Balance Amount Date of Actual Scheduled Date of tat Date of | Date Maj. Gharge Off Deferred Pay Balloon Pay Balloon Date
Date Reported Amount Past Due Last Paymnt Paymnt Amount Paymnt Amount Delinquency Last Activity Del. ist Apid 9 Amount Start Date = Amaunt Pay Date Closed
07/05/2015 $0 $0 04/2013 $0 $228 01/2013 $0 $0 01/2013

 

Status - Pays As Agreed; Type of Account - Installment; Type of Loan - Auto; Whose Account - Individual Account; ADDITIONAL INFORMATION - Closed or Paid Account/Zero Balance;
Auto: Fixed Rate;

 

>>> We have researched the credit account. Account # - 736* The results are: This creditor has verified to OUR company that the current status is being
reported correctly. Additional information has been provided from the original source regarding this item. If you have additional questions about this item please
contact: Citimortgage, PO Box 6243, Sioux Falls SD 57117-6243 Phone: (800) 283-7918

     

 
   

 
  
 

Ya ip ne Terms Frequency Months Revd = Activity Designator Crediter Classification

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07/01/1998 $60,000

 

Monthly 23 Paid and Closed
Items As of Balance Amount Date of Actual Scheduled Date of {st Date of Date Maj. Charge Off Deferred Pay Balloon Pay Balloon Date
Date Reported Amount Past Due Last Paymnat  Paymnt Amount Paymnt Amount Delinquency Last Activity Del ist Rpid = Amount Start Date = Amount Pay Date Closed
07/05/2015 $0 $0 08/2009 $50,604 $679 08/2009 $0 $0 08/2009

 

Status - Pays As Agreed; Type of Account - Mortgage; Type of Loan - Conventional Re Mortgage; Whose Account - Individual Account; ADDITIONAL INFORMATION - Consumer
Disputes This Account Information; Closed or Paid Account/Zero Balance; Conventional Mortgage;

 

{ Continued On Next Page ) Page 2 of & 5198045368 APPLADM-002004094- 5036 - 9254 -,
 

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CREDIT FILE: August 5, 2015 Ds Cepfirmation # 5198045368

>>> We have researched the credit account. Account # - 15100* The results are: This creditor has verified to CUR company that the current status is being
reported correctly. Additional information has been provided from the original source regarding this item. Historical account information was deleted from this
account. If you have additional questions about this item please contact: American Honda Finance, 2170 Point Blvd Ste 100, Elgin iL 60123-7875 Phone: (800)
542-0029

   

   

   

      

  
  

 

Account Number Date Opened Terms Duration Terms Frequensy Months Revd Activity Designator Creditor Classification

#5100" 0101/2012 $14,925 $0 Monthly 4 Paid and Closed.

items As of Balance Amount Date of Actual Scheduled Date of Ist Date of Date Maj. Charge Off Deferred Pay Balloon Pay Balioon Date

Date Reported Amount Past Due Last Paymnt Paymot Amount Paymnt Amount Delinquency Last Activity © Del. ist Rptd = Amount StartDate = Amount Pay Date Closed
07/05/2015 $0 $0 10/2013 $0 $261 10/2013 $0 $0 10/2013

 

Status - Pays As Agreed; Type of Account - installment; Type of Loan - Auto; Whose Account - Individual Account; ADDITIONAL INFORMATION - ; Closed or Paid Account/Zero
Balance; Auto; Fixed Rate;

 

>>> We have researched the credit account, Account # - 112086* The results are: This account is currently reporting included in bankruptcy. If you have
additional questions about this item please contact: Citimortgage, PO Box 6243, Sioux Falls SD 57117-6243 Phone: (800) 283-7918

  

   

    

 

 

 

Account Number Date Opened High Credit Credit Limit Terms Duration Terms Frequency

112086" 08/01/2009 $54,085 $0 Monthly

tems As of Balance Amount Date of Actuat Scheduled Date of ist Date of Date Maj. Charge Off : Deferred Pay Balloon Pay Balloon Date
Date Reported Amount Past Due Last Paymnt Paymnat Armaunt Paymnat Amount Delinquency Last Activity Del, ist Aptd = Amount Start Date Amount Pay Date Closed
01/06/2015 $0 $0 $0 $0 04/2014 $0 $0

 

Status - Included in Wage Earner Plan; Type of Loan - Conventional Re Mortgage; Whose Account - Individual Account; ADDITIONAL INFORMATION - Consumer Disputes This
Account Information; Bankruptcy Chapter 13; Real Estaie Mortgage; :

>>> We have researched the credit account. Account # -24026* The results are: We verified that this item belongs to you. This creditor has verified to OUR
company that the current status is being reported correctly. Additional information has been provided from the original source regarding this item. Historical account
information was deleted from this account. If you have additional questions about this item please contact: Bank of America, 1800 Tapo Canyon, Ca6 914 07 91,
Simi Valley CA 93063 Phone: (800) 451-6362

      
 

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pi
09/01/2011 $204,676 $0

 

30Y Monthly 38
ltems As of Balance Ameunt Date of Actual Scheduled Date of ist Date of Date Maj. Charge Off Deierred Pay Balloon Pay Balloon Date
Date Reported Amount Past Due Last Paymnt  Paymnt Amount Paymnt Amount Delinquency Last Activity Del. ist Rpté Amount Start Date Amount Pay Date Closed
07/05/2015 $191,490 $0 07/2015 $1,993 $1,993 06/2015 $6 $0

 

Status - Pays As Agreed; Type of Account - Mortgage; Type of Loan - Fha Real Estate Mortgage; Whose Account - Individual Account; ADDITIONAL INFORMATION - ; Real Estate
Mortgage; :

>>> We have researched the credit account, Account # - 549033091203" The results are: We verified that this item belongs to you. Additional information has
been provided from the original source regarding this item. If you have additional questions about this item please contact. Bank of America, P.O. Box 982235, EL
Paso TX 79998-2235

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Account Number Date Opened High Gredit redit Limit Terms Duration Terns Frequency Months Revd Activity Designator

549033091203" 08/01/1993 $13,852 $44,700 Monthly 59

items As of Balance Amount Date of Actual Scheduled Date of ist Date of Date Maj. Charge Ctt Deferred Pay Ballaon Pay Balloon Date

Date Reported Amount Past Due Last Paymnt Paymnt Amount Paymnt Amount Delinquency LastActivity . Del. ist Aptd Amount Start Date = Amount Pay Date Closed
07/05/2015 $0 $0 04/2014 $31 $0 p4/2014 $0 $0 04/2014

 

Status - Included In Wage Earner Plan; Type of Loan - Credit Card; Whose Account - Individual Account; ADDITIONAL INFORMATION - Bankruptcy Chapter 13; Credit Card;

 

>>> We have researched the credit account. Account # - 442802600001* The results are: We verified that this item belongs to you. This creditor has verified
to OUR company that the current status is being reported correctly. Additional information has been provided from the original source regarding this item. If you have
additional questions about this item please contact: Chase Card, PO Box 15298, Wilmington DE 19850-5298 Phone: (800) 432-3117 ,

    
         
  

 

" Date Opened High Credit Credit Limit Terms Duration Terms Frequency Monihs Revd Activity Designator Creditor Classificatio
442802800001" 04/01/1994 $6,660 $500 Monthly 99
Items As of Balance Amount Date of Actual Scheduled Pate of ist Date of Date Maj. Charge Gif Deferred Pay Balloon Pay Balioon Date
Date Reported Amount Past Due Last Paymnt = Paymnt Amount Paymnt Amcunt Delinquency Last Activity Del. ist Rptd = Amount StartDate = Amount Pay Date Closed
7/05/2015 $0 $0 oz/e012 $0 $0 02/2012 $0 $0 02/2012

 

Status - Pays As Agreed; Type of Account - Revolving: Type of Loan - Credit Card; Whose Account - Individual Account; ADDITIONAL INFORMATION - Account Closed At Consumers
Request; Credit Card; : -

 

>>> We have researched the credit account. Account # - 103697* The results are: This account has been updated to show included in bankruptey/included in
bankruptcy of another person. Additional information has been provided from the original source regarding this item. If you have additional questions about this item
please contact: USAA Federal Savings Bk, 10750 W iH 10, USAA Building Bk P3 East, San Antonio TX 78288-1600 Phone: (800) 531-2265

 

     

      

 
    
   

 

  

Account amber erms Duration Terms Frequency Months Hevd Activity Designator Creditor Classification

103697" 10/10/2013 $10,500 $0 60M Monthly 11

 

 

Items As of Balance Amount . Date of Actual Scheduled Date of ist Date of Date Mal, Charge Cif Deferred Pay Balloon Pay Balloon Date
Date Reperied Amount Past Due Lasi Paymnt Paymat Amount Paymnt Amount Delinquency LastAcbvity DelistRpid Amount Start Date Ameunt Puy Date Closed
08/05/2015 $0 $0 so $0 04/2014 $0 $0

 

Status - included In Wage Earmer Plan; Type of Loan - Aute; Whose Account - Joint Account: ADDITIONAL INFORMATION - Bankruptcy Chapter 13; Auto;

 

>>> We have researched the credit account. Account # - 16241* The results are: This account is currently reporting included in bankruptcy. If you have
additional questions about this item please contact: American Honda Finance, 2170 Point Bivd Ste 100, Elgin IL 60123-7875 Phone: (800) 542-0029

        

 

      

     

  

  
 
 

 

Account Number Date Opened High Credit Credit Limit . Terms Duration Terms Frequency Months Revd Activity Designater Creditor Classification

16241* 01/01/2013 $20,688 $0 Monthly is Paid and Closed

ltems As of Balance Amount Date of Actual Scheduled Date of {st Date of Date Mai. Charge Off Deferred Pay Balloon Pay Balleon, Date

Date Reported Amount Past Due Last Paymnt Paymnt Amount Peymnt Amount Delinquency Last Activiy Del. istRptd Amount Start Date = Amount Pay Date Closed
02/06/2015 $0 $0 12/2014 $3,267 $326 04/2014 $c" $0 04/2014 |

 

Status - Included In Wage Earner Plan: Type of Loan - Auto: Whose Account - Individual Account; ADDITIONAL INFORMATION - Bankruptcy Chapter 13; Closed or Paid Account/Zero
Balance; Auto;

 

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CREDIT FILE: August 5, 2075 _ Confirmation # 5198045368

Notice to Consumers

the fumisher of information contacted, and if reasonably available the telephone number.

If the reinvestigation does not resolve your dispute, you have the right to add a statement to your credit file disputing the accuracy or completeness of the
information: the statement should be brief and may Be limited to not more than one hundred words (two hundred words for Maine residents) explaining the nature of
your dispute.

lf the reinvestigation results in the deletion of disputed information, or you submit a statement in accordance with the preceding paragraph, you have the right to
request that we send your revised credit file to any company specifically designated by you that received your credit report in the past six months (twelve months for
California, Colorado, Maryland, New Jersey and New York residents) for any purpose or in the past two years for employment purposes. ,

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